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Fred B. Ringel
Clement Yee
Attorneys for the Debtor and Debtor in Possession

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
----------------------------------------------------------X

In re:                                                           Chapter 11

286 RIDER AVE ACQUISITION LLC,                                   Case No: 21-11298-lgb

                                       Debtor.
----------------------------------------------------------X
                                       CERTIFICATE OF SERVICE
NATHANAEL F. MEYERS, hereby certifies under penalty of perjury:
          1. I am not a party to the action, am over 18 years of age and reside in Hamilton, New
Jersey.
          2. On the 12th day of August, 2021, I served true and correct copies of Second
Application Pursuant To Bankruptcy Rule 1007 for an Order Granting an Extension of Time To
File Its Statement of Financial Affairs and Schedules [Doc. No. 19] via First-Class Mail upon the
attached Service List by depositing true copies of same enclosed in pre-paid, properly addressed
wrappers in an official depository under the exclusive care and custody of the United States
Postal Service within the State of New York.


Dated: August 13, 2021
                                                              /s/ Nathanael F. Meyers
                                                              Nathanael F. Meyers




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Schedules Extension Service List as of 8/12/21

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Michael Lichtenstein
286 Rider Ave Development LLC
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AKERMAN LLP
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Attn.: Mark S. Lichtenstein, Esq.
Joshua D. Bernstein, Esq.

William K. Harrington, United States Trustee
U.S. Department of Justice
Office of the United States Trustee
201 Varick Street, Room 1006
New York, NY 10014
(Attn.: Greg Zipes, Esq.)




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SERVICE LIST AS OF 12/29/20

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NYS SALES TAX PROCESSING
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CON EDISON
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(ATTN.: ANDREA B. SCHWARTZ, ESQ.)




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